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                                                                                                UNITED STATES DISTRICT COURT
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                                                                                              CENTRAL DISTRICT OF CALIFORNIA
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                                                                           DEBRA DALTON; and MICHAEL                CASE NO.: 2:20-CV-02458-RGK-SK
                                                                      12 DALTON,
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13                                            DEFENDANT PRINCESS CRUISE
                                   ENCINITAS, CA 92024




                                                                                       Plaintiffs,                  LINE LTD.’S MOTION TO DISMISS
                                                                      14 vs.

                                                                      15 PRINCESS CRUISE LINES, LTD.,
                                                                                                                    Date: August 17, 2020
                                                                      16               Defendant.                   Time: 9:00 a.m.
                                                                                                                    Judge: Hon. R. Gary Klausner
                                                                      17                                            Courtroom: 850
                                                                      18

                                                                      19                                            Magistrate: Hon. Steve Kim
                                                                                                                    Filed: 03/13/2020
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                                                                       1         Defendant, PRINCESS CRUISE LINES, LTD. (hereafter “Defendant” or
                                                                       2 “PRINCESS”), hereby files this Motion to Dismiss the Complaint filed by Plaintiffs

                                                                       3 herein.

                                                                       4         This motion is made following several conferences of counsel pursuant to
                                                                       5 L.R. 7-3 which took place between March 27, 2020 and June 11, 2020.

                                                                       6 I.      INTRODUCTION
                                                                       7         Plaintiffs ask this Court to recognize an unprecedented theory of liability for
                                                                       8 emotional distress, unmoored from any physical harm, that is squarely foreclosed by

                                                                       9 Supreme Court precedent. If accepted, Plaintiffs’ theory would open the door to

                                                                      10 open-ended liability for every business, school, church, and municipality across
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                                                                      11 America, stalling economic recovery in the wake of the COVID-19 pandemic and
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                                                                      12 complicating the ability of businesses to reopen. Consistent with Supreme Court and
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                                                                      13 Ninth Circuit precedent, this Court should reject Plaintiffs’ attempt to expand
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                                                                      14 emotional distress liability and dismiss the Complaint.

                                                                      15         Plaintiffs are among over 125 individuals who have filed nearly identical
                                                                      16 lawsuits against Defendant, each seeking one million dollars in compensatory

                                                                      17 damages for emotional distress based on their fear that they might have contracted

                                                                      18 COVID-19 during their cruise. Like dozens of virtually identical cases, these

                                                                      19 Plaintiffs embarked the Grand Princess cruise ship on February 21, 2020. (Compl. ¶

                                                                      20 6.) Importantly, Plaintiffs do not claim they contracted COVID-19, that they

                                                                      21 suffered any symptoms of COVID-19, or even that they ever came into direct

                                                                      22 contact with the virus or anyone who had it. Rather, Plaintiffs seek damages for

                                                                      23 emotional distress based solely on the fact that they were aboard the same 107,517

                                                                      24 ton cruise ship along with approximately 3,700 other passengers and crew, some of

                                                                      25 whom could have interacted with individuals from the preceding cruise who were

                                                                      26 later diagnosed with COVID-19 after their cruise ended. (Compl. ¶¶ 13-14.)
                                                                      27 Plaintiffs claim, without explanation, that merely by virtue of being on the same

                                                                      28 cruise ship with some individuals that were on the prior cruise, they were at “actual

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
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                                                                       1 risk of immediate physical injury.” (Compl. ¶ 9.) While evidence will ultimately

                                                                       2 show that Plaintiffs’ factual allegations against PRINCESS are inaccurate and

                                                                       3 misleading, even accepting Plaintiffs’ allegations as true for the purposes of

                                                                       4 considering this Motion to Dismiss, the Complaints make clear that Plaintiffs’

                                                                       5 claims fail as a matter of law.

                                                                       6         The Supreme Court has squarely held that a plaintiff cannot recover for
                                                                       7 emotional distress stemming from potential exposure to a disease “unless, and until,

                                                                       8 he manifests symptoms of a disease.” Metro-North Commuter R. Co. v. Buckley,

                                                                       9 521 U.S. 424, 427 (1997). This rule applies to claims of emotional distress brought

                                                                      10 under federal maritime law. Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358
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                                                                      11 (S.D. Fla. 2018). Supreme Court precedent thus requires dismissal here, because
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                                                                      12 Plaintiffs do not (and cannot) plausibly claim that they either contracted COVID-19
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                                                                      13 or had sufficient symptoms of disease to establish they had contracted the virus as a
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                                                                      14 result of Defendant’s conduct.

                                                                      15         The Supreme Court has consistently reaffirmed this rule precisely to avoid the
                                                                      16 oppressive societal costs that would occur if claims like Plaintiffs’ could go forward.

                                                                      17 As the Court has explained, “contacts, even extensive contacts,” with potential

                                                                      18 carriers of diseases “are common.” Metro-North, 521 U.S. at 434. And unlike with

                                                                      19 physical injury, “there are no necessary finite limits on the number of persons who

                                                                      20 might suffer emotional injury” as a result of fear of contracting an illness.

                                                                      21 Consolidated Rail Corp. v. Gottshall, 512 U.S. 532, 546 (1994). If anyone

                                                                      22 potentially exposed to a contagion could obtain damages for emotional distress,

                                                                      23 “[t]he large number of those exposed and the uncertainties that may surround

                                                                      24 recovery” would prompt a “flood” of lawsuits, Metro-North, 521 U.S. at 434, and

                                                                      25 would lead to “the very real possibility of nearly infinite and unpredictable liability

                                                                      26 for defendants.” Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135, 146 (2003).
                                                                      27 / / /

                                                                      28 / / /

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
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                                                                       1         With the COVID-19 pandemic, a “flood” has already begun. In just its first
                                                                       2 few months, 31 cases have already been filed just from this one cruise ship, with

                                                                       3 similar cases filed relating to passengers on other cruises and other vessels. And

                                                                       4 there is no reason to think the flood will abate. As of the date of filing this brief,

                                                                       5 about 2 million cases of COVID-19 have been confirmed in the United States alone

                                                                       6 and about 7 million cases worldwide.1 Thousands of schools, nursing homes,

                                                                       7 shopping centers, stadiums, parks, and businesses across America have inevitably

                                                                       8 had cases on their premises. If Plaintiffs’ theory of liability succeeds, then all of the

                                                                       9 millions of individuals who passed through those venues can similarly claim to have

                                                                      10 suffered emotional distress if they learn that another person who was later diagnosed
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                                                                      11 with COVID-19 was present. Straightforward application of the Supreme Court’s
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                                                                      12 rules governing these fear of disease claims will prevent the cataclysmic result of
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                                                                      13 allowing open-ended liability for all of these venues.
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                                                                      14         There is a second, independent barrier to Plaintiffs’ claims: In addition to
                                                                      15 requiring that a plaintiff contract the disease or at least show sufficient symptoms to

                                                                      16 suggest the plaintiff has contracted the disease, courts further require that the

                                                                      17 plaintiff’s fear must give rise to serious physical consequences before emotional

                                                                      18 distress damages can be recovered. Mere anxiety or fear about their health, as is

                                                                      19 alleged by Plaintiffs, is legally insufficient to support a claim for emotional distress

                                                                      20 in a fear of illness case. Just as Plaintiffs here do not claim a confirmed diagnosis of

                                                                      21 COVID-19, nor symptoms suggesting they actually contracted the virus, they did

                                                                      22 not suffer (nor do they allege to have suffered) the requisite serious physical

                                                                      23 consequences stemming from their alleged emotional distress. Additionally,

                                                                      24 Plaintiffs’ request for punitive damages is flatly insufficient under the strict

                                                                      25 standards governing punitive damages in maritime claims.

                                                                      26
                                                                           1
                                                                          See Coronavirus Disease 2019 (COVID-19), Cases in the U.S., Centers for Disease
                                                                      27
                                                                         Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-
                                                                      28 updates/cases-in-us.html.

                                                                                                                     3
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-02458-RGK-SK
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                                                                       1         Plaintiffs’ claims threaten the ability of businesses to reopen and for the
                                                                       2 economy to resume. If individuals in Plaintiffs’ situation can recover, businesses,

                                                                       3 school, churches and other venues across America will be forced to keep their doors

                                                                       4 closed long after state stay-at-home orders are lifted, lest they risk crushing liability

                                                                       5 to each and every one of their invitees for emotional distress, based on the mere

                                                                       6 possibility of infection, because some employee or other current or past customer of

                                                                       7 the business was later discovered to have the virus. The likelihood of endless

                                                                       8 liability for every business, church, school and other venue in America under

                                                                       9 Plaintiffs’ expansive theory is even more likely in the context of COVID-19, which

                                                                      10 is now known to be transmitted by asymptomatic individuals which no defendant
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                                                                      11 could realistically detect with current testing limitations. The Supreme Court’s
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                                                                      12 limits on emotional distress for fear of disease claims are intended to avoid exactly
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                                                                      13 that result, and a straightforward application of those limits here mandates dismissal.
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                                                                      14 II.     LEGAL STANDARD
                                                                      15         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
                                                                      16 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

                                                                      17 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                      18 above the speculative level, … on the assumption that all the allegations in the

                                                                      19 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                      20 plausibility standard “asks for more than a sheer possibility that a defendant has

                                                                      21 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that

                                                                      22 offers labels and conclusions or a formulaic recitation of the elements of a cause of

                                                                      23 action will not do.” Id.

                                                                      24 III.    MEMORANDUM OF LAW
                                                                      25         Recognizing the potential for widespread liability in fear-of-disease cases,
                                                                      26 courts apply two strict limits on such cases. First, the Supreme Court has held that a
                                                                      27 plaintiff cannot recover for emotional distress stemming from alleged exposure to an

                                                                      28 illness “unless, and until, he has symptoms of a disease.” Metro-North, 521 U.S. at

                                                                                                                     4
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-02458-RGK-SK
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                                                                       1 426-27. Second, courts independently require that a plaintiff plausibly allege serious

                                                                       2 physical manifestations of their purported emotional distress. Plaintiffs have not

                                                                       3 plausibly alleged either symptoms or a physical manifestation of their distress, and

                                                                       4 thus their case must be dismissed under Rule 12(b)(6). Even if Plaintiffs’ claims

                                                                       5 survive, their Complaint should be dismissed based on its failure to allege any facts

                                                                       6 showing Plaintiffs ever came into actual contract with the virus and their request for

                                                                       7 punitive damages should be dismissed or stricken.

                                                                       8       A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                       9           As Plaintiffs acknowledge by invoking this Court’s maritime jurisdiction and
                                                                      10 stating that the case “involves a maritime tort” (Compl. ¶ 5), Federal maritime law
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                                                                      11 applies to Plaintiffs’ claims.2 Maritime law applies when “(1) the alleged wrong
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                                                                      12 occurred on or over navigable waters, and (2) the wrong bears a significant
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                                                                      13 relationship to traditional maritime activity.” Williams v. United States, 711 F.2d
                                   ENCINITAS, CA 92024




                                                                      14 893, 896 (9th Cir.1983). “‘[V]irtually every activity involving a vessel on navigable

                                                                      15 waters” is       a “traditional maritime activity sufficient to invoke maritime
                                                                      16 jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080, 1087 (9th Cir. 2005)

                                                                      17 (quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527,

                                                                      18 542 (1995)); Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1654 n. 10

                                                                      19 (11th Cir. 1991) (“In maritime tort cases such as this one, in which injury occurs

                                                                      20 aboard a … ship upon navigable waters, federal maritime law governs the

                                                                      21 substantive legal issues.”).

                                                                      22       B. Plaintiffs Cannot Recover for Emotional Distress Because They Fail to
                                                                      23          Allege Facts Demonstrating They Were Within the Zone of Danger for
                                                                                  Contracting COVID-19
                                                                      24

                                                                      25           Under well-established principles that govern emotional distress claims
                                                                      26 brought under federal maritime jurisdiction, Plaintiffs’ claims should be dismissed.
                                                                      27
                                                                           2
                                                                               Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime
                                                                      28 law. See, https://www.princess.com/legal/passage_contract/plc.html at Section 1.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-02458-RGK-SK
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                                                                       1         1. To Recover for Emotional Distress Based on Exposure to a Disease,
                                                                       2            Plaintiffs Must Plausibly Allege That They Contracted and Have
                                                                                    Suffered Symptoms of That Disease
                                                                       3

                                                                       4         The Supreme Court has “sharply circumscribed” recovery under federal law
                                                                       5 for “stand-alone emotional distress claims”—i.e., claims of emotional harm that are

                                                                       6 not “brought on by a physical injury or disease”—by requiring that the plaintiff be

                                                                       7 within the “zone of danger” of defendant’s allegedly negligent conduct. Ayers, 538

                                                                       8 U.S. at 147 (2003). The Supreme Court’s zone of danger test “confines recovery for

                                                                       9 stand-alone emotional distress claims to plaintiffs who: (1) ‘sustain a physical

                                                                      10 impact as a result of a defendant's negligent conduct’; or (2) ‘are placed in

                                                                      11 immediate risk of physical harm by that conduct’—that is, those who escaped
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                                                                      12 instant physical harm, but were ‘within the zone of danger of physical impact.’” Id.
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                                                                      13 at 146 (emphasis added).
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                                                                      14         In Metro-North, the Supreme Court set forth a more specific, categorical
                                                                      15 version of the zone of danger test that governs claims of emotional distress based on

                                                                      16 alleged negligent exposure to a disease. Under Metro-North, a plaintiff alleging

                                                                      17 emotional distress from such exposure “cannot recover unless, and until, he

                                                                      18 manifests symptoms of a disease.” 521 U.S. at 426-27. In other words, there is no

                                                                      19 liability for emotional distress from fear of contracting a disease unless the Plaintiff

                                                                      20 either has been diagnosed with the disease or at least has sufficient symptoms to

                                                                      21 suggest they have the illness.

                                                                      22         The Supreme Court has since reaffirmed Metro-North’s categorical rule,
                                                                      23 explaining in Ayers that “emotional distress damages may not be recovered” by

                                                                      24 “disease-free” plaintiffs. 538 U.S. at 141. The Court specifically “decline[d] to blur,

                                                                      25 blend, or reconfigure” the “clear line” between “disease-free” plaintiffs, who cannot

                                                                      26 recover, and those “who suffer from a disease,” who can recover under certain
                                                                      27 conditions. Id.; see also id. at 146 (explaining that because the plaintiff in Metro-

                                                                      28 North “had a clean bill of health,” the Court “rejected his entire claim for relief”).

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
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                                                                       1 The Court has also made clear that its rule applies not just to claims based on

                                                                       2 exposure to toxins like asbestos, but to any claim based on alleged exposure to a

                                                                       3 potential source of disease—specifically including “germ-laden air.” Metro-North,

                                                                       4 521 U.S. at 437.

                                                                       5         By contrast, mere exposure to a contagion—even a significant and substantial
                                                                       6 exposure—is insufficient to establish someone is within the required “zone of

                                                                       7 danger,” under either the “physical impact” prong or the “immediate risk of physical

                                                                       8 harm” prong. In Metro-North, the plaintiff’s employer had negligently exposed him

                                                                       9 to a “massive” and “tangible” amount of asbestos, placing him in direct, close

                                                                      10 contact with asbestos for about an hour a day over a three-year period as he removed
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                                                                      11 asbestos from pipes, often “covering himself with insulation dust that contained
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                                                                      12 asbestos.” Id. at 427. The plaintiff feared that this intense prolonged exposure to
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                                                                      13 asbestos increased his chances of dying from cancer and the plaintiff introduced
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                                                                      14 expert testimony supporting that his risk of cancer had in fact increased. Id. The

                                                                      15 Supreme Court nonetheless held that the plaintiff could not recover for emotional

                                                                      16 distress since he did not ultimately contract cancer, holding that his exposure to the

                                                                      17 disease-causing substance alone was insufficient to establish emotional distress

                                                                      18 liability for fear of contracting a disease. Id. at 430 (quoting Gottshall, 512 U.S. at

                                                                      19 547-48). The Court explained that if “a simple (though extensive) contact with a

                                                                      20 carcinogenic substance” were sufficient to permit recovery, it would not “offer

                                                                      21 much help in separating valid from invalid emotional distress claims.” Id. at 434.

                                                                      22 “Judges would be forced to make highly subjective determinations concerning the

                                                                      23 authenticity of claims for emotional injury, which are far less susceptible to

                                                                      24 objective medical proof than are their physical counterparts.” Gottshall, 512 U.S. at

                                                                      25 552.

                                                                      26         In imposing these strict limits on emotional distress claims, the Supreme
                                                                      27 Court contrasted claims where a plaintiff alleges emotional harm “brought on by a

                                                                      28 physical injury[] or disease,” which are not subject to the same zone of danger

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
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                                                                       1 restriction. Ayers, 538 U.S. at 147-48. For example, a plaintiff who has contracted

                                                                       2 asbestosis after asbestos exposure can “seek compensation for fear of cancer as an

                                                                       3 element of his asbestosis-related pain and suffering damages.” Id. at 158. But the

                                                                       4 same plaintiff who was exposed to asbestos and who did not contract asbestosis

                                                                       5 cannot.

                                                                       6         The Supreme Court adopted the strict zone of danger test specifically to avoid
                                                                       7 the “uncabined recognition of claims for negligently inflicted emotional distress,”

                                                                       8 which would “hol[d] out the very real possibility of nearly infinite and unpredictable

                                                                       9 liability for defendants.” Ayers, 538 U.S. at 146 (2003) (quoting Gottshall, 512 U.S.

                                                                      10 at 546). And although the Supreme Court decisions developing the zone of danger
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                                                                      11 test arose in the context of the Federal Employers’ Liability Act (FELA), the Ninth
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                                                                      12 Circuit has expressly held that the test governs all emotional-distress claims,
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                                                                      13 including those arising under federal maritime law.         See Stacy v. Rederiet Otto
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                                                                      14 Danielsen, A.S., 609 F.3d 1033, 1035 (9th Cir. 2010); see also, e.g., Chaparro v.

                                                                      15 Carnival Corp., 693 F.3d 1333, 1337-38 (11th Cir. 2012) (per curiam) (“federal

                                                                      16 maritime law has adopted ... the ‘zone of danger’ test”).

                                                                      17         Indeed, courts apply Metro-North specifically to dismiss cruise line passenger
                                                                      18 lawsuits. For instance, in Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358

                                                                      19 (S.D. Fla. 2018), a passenger and her family were disembarked to a hospital in

                                                                      20 Barbados and claimed that, while at the hospital, they were exposed to Ebola virus.

                                                                      21 Id. at 1360. The passengers were not allowed to return to the ship, which they claim

                                                                      22 added to their anxiety and they filed suit for “severe psychological damages,

                                                                      23 emotional distress, much personal discomfort, uncertainty, fear and lack of safety,”

                                                                      24 and “undue expenses and costs.” Id. Applying Metro-North, the Court dismissed

                                                                      25 their claim, holding the passengers cannot recover for emotional harm when they

                                                                      26 “do not specify any physical harm for which they seek recovery” and there were “no
                                                                      27 plausible allegations that the plaintiffs sustained a ‘physical impact’ merely by being

                                                                      28 sent to a hospital” which had Ebola-infected patients in the same hospital. Id. at

                                                                                                                    8
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-02458-RGK-SK
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                                                                       1 1362.

                                                                       2         2. Plaintiffs’ Allegations Do Not Satisfy the Zone of Danger Test
                                                                       3         The hard-and-fast rule from Metro-North, precluding a plaintiff’s recovery for
                                                                       4 emotional distress claims “unless, and until, he manifests symptoms of a disease,”

                                                                       5 requires dismissal of this action. 521 U.S. at 427.

                                                                       6         Plaintiffs do not allege that they contracted COVID-19 as a result of exposure
                                                                       7 on the Grand Princess. Nor do they allege any symptoms. Indeed, they do not (and

                                                                       8 cannot) allege that they ever came into close contact with the disease aboard the ship

                                                                       9 such that they faced a probability of contracting it. Rather, Plaintiffs allege only that

                                                                      10 other passengers on their vessel were exposed to passengers who previously had
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                                                                      11 disembarked the ship and were later confirmed to be infected with COVID-19.
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                                                                      12 Specifically, they state that “at least two passengers” who disembarked from the
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                                                                      13 previous cruise “had symptoms of the coronavirus,” and that “62 passengers on
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                                                                      14 board the Plaintiffs’ cruise … were exposed to the passengers that were confirmed

                                                                      15 to be infected...” (Compl. ¶¶ 12-13.) That is nowhere near sufficient under Metro-

                                                                      16 North, which, again, squarely holds that a plaintiff cannot recover “unless, and until,

                                                                      17 he manifests symptoms of a disease.” 521 U.S. at 427.3

                                                                      18         Even setting aside Metro-North’s categorical rule that requires a diagnosis or
                                                                      19 symptoms of a disease as a threshold to recovery, Plaintiffs still would not have

                                                                      20 stated a claim under the zone of danger test. Federal courts routinely dismiss

                                                                      21 emotional distress claims when the plaintiff has not plausibly alleged that he

                                                                      22 actually suffered a physical impact or faced an imminent threat of physical harm.

                                                                      23 See, e.g., Bonner v. Union Pac., 123 F. App’x 777, 778 (9th Cir. 2005); Smith v.

                                                                      24
                                                                           3
                                                                      25  Even if Plaintiffs had alleged symptoms, they would still face an independent bar to
                                                                         show that their fear of contracting COVID-19 was “genuine and serious”—
                                                                      26 something beyond “general concern for [one’s] future health.” Ayers, 538 U.S. at
                                                                      27 157-58 (quoting Smith v. A.C. & S., Inc., 843 F.2d 854, 859 (5th Cir.1988)); see
                                                                         CSX Transp., Inc. v. Hensley, 556 U.S. 838 (2009) (plaintiffs seeking fear-of-disease
                                                                      28 damages “must satisfy a high standard in order to obtain them”).

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-02458-RGK-SK
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                                                                       1 Carnival Corp., 584 F. Supp. 2d 1343, 1355 (S.D. Fla. 2008); Crawford v. Nat'l

                                                                       2 R.R. Passenger Corp., No. 3:15-CV-131 (JBA), 2015 WL 8023680, at *12 (D.

                                                                       3 Conn. Dec. 4, 2015); Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 759 (M.D.N.C.

                                                                       4 2014); see also, e.g., Goodrich v. Long Island Rail Rd. Co., 654 F.3d 190, 199 (2d

                                                                       5 Cir. 2011) (affirming dismissal of IIED claim where no allegation that plaintiff was

                                                                       6 in zone of danger). Plaintiffs clearly have not claimed any “physical impact”; again,

                                                                       7 it is black-letter law that an exposure to a source of disease is not a “physical

                                                                       8 impact” under Supreme Court precedent. Metro-North, 521 U.S. at 430.

                                                                       9           Nor have Plaintiffs plausibly alleged an “immediate risk of physical harm.”
                                                                      10 Plaintiffs’ bare assertion that they “are at actual risk of immediate physical injury,”
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                                                                      11 is precisely the sort of “[t]hreadbare recital [] of the elements of a cause of action”
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                                                                      12 that cannot defeat a motion to dismiss. Ashcroft v. Iqbal, (2009) 556 U.S. 662, 678.
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                                                                      13 And even if mere exposure could create an “actual risk” under the zone of danger
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                                                                      14 test—and it cannot—Plaintiffs do not allege how, when or where they were actually

                                                                      15 exposed to COVID-19. Plaintiffs conspicuously fail to assert that they came into

                                                                      16 direct contact with any passengers or crew who had COVID-19, and instead assert

                                                                      17 only that there were other passengers somewhere aboard the ship—one with

                                                                      18 thousands of passengers and crew—who had come into contact with people who

                                                                      19 were later discovered to be infected. Plaintiffs’ Complaint alleges no potential route

                                                                      20 of transmission.

                                                                      21           To put this in perspective, there are 649 cities in California with populations
                                                                      22 smaller than the 3,700-person population of the Grand Princess.4 If Plaintiffs’

                                                                      23 allegation that merely being in the same population of 3,700 people is sufficient to

                                                                      24 satisfy the zone of danger requirement, then anyone who lived in any of those 649

                                                                      25 cities could become subject to emotional distress liability whenever they invited

                                                                      26 anyone onto their premises if it was later discovered someone else in the town had
                                                                      27
                                                                           4
                                                                      28       https://www.california-demographics.com/cities_by_population

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                                                                           DEFENDANT’S MOTION TO DISMISS                                     2:20-CV-02458-RGK-SK
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                                                                       1 COVID-19.

                                                                       2         Plaintiffs’ failure to allege direct exposure makes their claim doubly deficient
                                                                       3 under Metro-North. The plaintiff in Metro-North had been consistently and

                                                                       4 intensely exposed to asbestos daily basis for a three-year period, and still the Court

                                                                       5 foreclosed recovery. Metro-North, 521 U.S. at 427. Plaintiffs allege nothing of the

                                                                       6 sort here.

                                                                       7         Moreover, now that the window of potentially contracting COVID-19 has
                                                                       8 long passed, Plaintiffs’ claim must fail under the widely accepted, independent rule

                                                                       9 that if “at the time the court reviews a claim, a plaintiff who no longer fears

                                                                      10 contracting the disease or that risk, may not pursue a claim for emotional distress
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                                                                      11 based on the earlier fear.” Naeyaert v. Kimberly-Clark Corp., 2018 WL 6380749, at
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                                                                      12 *8 (C.D. Cal. Sept. 28, 2018). This rule, consistent with the zone of danger test,
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                                                                      13 ensures that only those whose fears actually manifest in the form of an actual
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                                                                      14 diagnosis can recover, in the interest of preventing a “flood” of cases inherently

                                                                      15 “less susceptible to objective medical proof than are their physical counterparts.”

                                                                      16 Gottshall, 512 U.S. at 552.

                                                                      17         Cases that do find an immediate risk of harm provide a helpful contrast to
                                                                      18 Plaintiffs’ inadequate claims here. These cases involve “threatened physical contact

                                                                      19 that caused, or might have caused, immediate traumatic harm.” Metro-North, 521

                                                                      20 U.S. at 430 (emphasis added) (collecting cases); see, e.g., Stacy, 609 F.3d at 1035

                                                                      21 (freighter nearly struck plaintiff’s vessel and then struck another ship, killing its

                                                                      22 captain); Sawyer Bros., Inc. v. Island Transporter, LLC, 887 F.3d 23, 39 (1st Cir.

                                                                      23 2018) (plaintiffs were aboard ferry that nearly capsized); In re Clearsky Shipping

                                                                      24 Corp., No. Civ. 96-4099, 2002 WL 31496659, *1 (E.D. La. Nov. 7, 2002) (plaintiff

                                                                      25 was aboard a docked casino boat as a vessel collided with nearby wharf); Hutton v.

                                                                      26 Norwegian Cruise Line Ltd., 144 F.Supp.2d 1325 (S.D. Fla. 2001) (plaintiffs aboard
                                                                      27 ship that collided with another vessel). Courts’ consistent focus on near-miss

                                                                      28 collisions is unsurprising. The Supreme Court in adopting the zone of danger test

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-02458-RGK-SK
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                                                                       1 emphasized that it would allow recovery for “emotional injury caused by the

                                                                       2 apprehension of physical impact.” Gottshall, 512 U.S. at 556. (emphasis added).

                                                                       3 And in subsequently describing the test, it has equated being “placed in immediate

                                                                       4 risk of physical harm” with “escap[ing] instant physical harm.” Ayers, 538 U.S. at

                                                                       5 146. Expanding the category of “immediate risk” claims to cover alleged exposure

                                                                       6 to a communicable disease which the Plaintiff did not contract would be

                                                                       7 unprecedented.

                                                                       8         Because Plaintiffs were not within the zone of danger under Metro-North,
                                                                       9 their allegations of emotional distress, no matter how severe, are insufficient to

                                                                      10 survive a Motion to Dismiss. In Gottshall, one of the plaintiffs had suffered
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                                                                      11 “insomnia, headaches, depression, and weight loss,” followed by a “nervous
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                                                                      12 breakdown.” 512 U.S. at 539. The other had experienced “nausea, insomnia, cold
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                                                                      13 sweats, and repetitive nightmares,” plus weight loss, anxiety, and suicidal ideations.
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                                                                      14 Id. at 536-37. The Supreme Court held that even these significant emotional injuries

                                                                      15 were not compensable because they did not stem from either a physical impact or a

                                                                      16 near-miss physical impact—i.e., neither plaintiff was in the zone of danger. Indeed,

                                                                      17 even extremely grave physical results cannot be redressed unless the plaintiff was in

                                                                      18 the zone of danger. Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 757 (M.D.N.C.

                                                                      19 2014) (no recovery for “self-inflicted gunshot wound” because plaintiff was never in

                                                                      20 zone of danger).

                                                                      21         Plaintiffs’ allegations of gross negligence are similarly barred by the Supreme
                                                                      22 Court’s analysis. Metro-North’s zone of danger test governs all species of tort

                                                                      23 claims seeking emotional distress, whether or not styled as claims of “negligent

                                                                      24 infliction of emotional distress.” See Smith v. Union Pac. R.R. Co., 236 F.3d 1168,

                                                                      25 1171 (10th Cir.2000) (Metro-North and Gottshall “focused on whether emotional

                                                                      26 injuries were generally compensable under FELA, rather than upon the specific
                                                                      27 cause of action.”); Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 755 (M.D.N.C.

                                                                      28 2014) (“Federal courts have consistently applied the zone of danger test to all stand-

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
                                                      Case 2:20-cv-02458-RGK-SK Document 36-1 Filed 06/15/20 Page 17 of 23 Page ID #:139



                                                                       1 alone emotional distress claims.”).

                                                                       2         3. Finding Plaintiffs’ Claims Sufficient Would Invite the Exact Policy
                                                                       3            Consequences the Supreme Court Warned Against

                                                                       4         COVID-19 is now known to be a pandemic, is becoming widespread and can
                                                                       5 be transmitted through airborne droplets. Many of its carriers can be pre-

                                                                       6 symptomatic or asymptomatic, thereby not exhibiting any symptoms.5 If a plaintiff

                                                                       7 can recover for emotional distress based on a fear of exposure to a widespread

                                                                       8 disease like COVID-19, there will be no limit on who can recover in the wake of the

                                                                       9 pandemic. Any business, school, church or other venue alleged to have opened its

                                                                      10 doors a day too soon could be open to claims of negligence by anyone who stepped
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                                                                      11 inside and afterward fears they may have come into contact with a source of
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                                                                      12 COVID-19. This concern is even more significant in relation to a widespread and
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                                                                      13 often undetectable disease like COVID-19 which has infected about 2 million
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                                                                      14 people in this country to date. Airline travel and public transportation will prove

                                                                      15 impossible. Individuals who attend a football game, transit through an airport, eat at

                                                                      16 a restaurant, or shop at a mall or store will all have potential emotional distress

                                                                      17 claims based entirely on having been allowed into a venue where someone later is

                                                                      18 found to have tested positive for COVID-19.

                                                                      19         Allowing Plaintiffs’ claims to proceed, in other words, endorses the “nearly
                                                                      20 infinite and unpredictable liability for defendants” that Gottshall and Metro-North

                                                                      21 expressly set out to prevent. Ayers, 538 U.S. at 146. Courts will be confronted with a

                                                                      22 “flood” of cases in which they “would be forced to make highly subjective

                                                                      23 determinations concerning the authenticity of claims for emotional injury, which are

                                                                      24
                                                                           “Interim Clinical Guidance for Management of Patients with Confirmed
                                                                           5
                                                                      25
                                                                         Coronavirus Disease (COVID-19), Centers for Disease Control and Prevention
                                                                      26 (May 20, 2020), https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-
                                                                         management-patients.html; “How to Protect Yourself and Others,” Centers for
                                                                      27
                                                                         Disease Control and Prevention,            https://www.cdc.gov/coronavirus/2019-
                                                                      28 ncov/prevent-getting-sick/prevention.html.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-02458-RGK-SK
                                                      Case 2:20-cv-02458-RGK-SK Document 36-1 Filed 06/15/20 Page 18 of 23 Page ID #:140



                                                                       1 far less susceptible to objective medical proof than are their physical counterparts.”

                                                                       2 Gottshall, 512 U.S. at 552. Businesses will in effect become insurers for the mental

                                                                       3 well-being of everyone who passes through their doors. Such a burden would be

                                                                       4 impossible for any business, which is why the law categorically rejects such claims.

                                                                       5         Rejection of Plaintiffs’ unprecedented theory is all the more important in the
                                                                       6 maritime context. A “fundamental interest of federal maritime jurisdiction” is “the

                                                                       7 protection of maritime commerce.” The Dutra Grp. v. Batterton, 139 S. Ct. 2275,

                                                                       8 2287 (2019) (quotation marks omitted). The Supreme Court, recognizing that

                                                                       9 maritime law is increasingly legislative in nature, has urged courts to resist judicial

                                                                      10 expansions of liability and remedies that would “frustrate” this protective purpose.
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                                                                      11 Id. Allowing unpredictable and potentially crushing liability for ocean carriers to
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                                                                      12 potentially all of their passengers in the wake of a pandemic would so seriously
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                                                                      13 inhibit maritime commerce that, even if Metro-North did not squarely forbid
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                                                                      14 liability by its terms, principles of maritime law would independently require

                                                                      15 dismissal.

                                                                      16      C. Plaintiffs’ Claims Also Fail Because They Do Not Allege That Their
                                                                      17         Distress Has Caused a Non-Trivial Physical Injury

                                                                      18         To further guard against open-ended liability based on fear of illness, courts
                                                                      19 impose, as an independent and additional requirement, that the claimed emotional

                                                                      20 distress must cause non-trivial physical consequences. In other words, “[g]eneral

                                                                      21 maritime law requires an ‘objective manifestation’ of the emotional injury—a

                                                                      22 physical injury or effect which arises from the emotional injury.” Wyler v. Holland

                                                                      23 Am. Line-USA, Inc., 2002 WL 32098495, at *1 (W.D. Wash. Nov. 8, 2002); accord

                                                                      24 Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474, 477-478 (5th Cir. 2001); Duet v.

                                                                      25 Crosby Tugs, LLC, 2008 WL 5273688, at *3 (E.D. La. Dec. 16, 2008) (“Plaintiff’s

                                                                      26 emotional distress was not provoked by a physical injury, rather, plaintiff’s physical
                                                                      27 injury was provoked by emotional distress”); Tassinari v. Key W. Water Tours, L.C.,

                                                                      28 480 F. Supp. 2d 1318, 1325 (S.D. Fla. 2007) (“[S]tand-alone claims for negligent

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
                                                      Case 2:20-cv-02458-RGK-SK Document 36-1 Filed 06/15/20 Page 19 of 23 Page ID #:141



                                                                       1 infliction of emotional distress require a physical manifestation of emotional

                                                                       2 injury.”).

                                                                       3         Courts impose this physical-harm requirement because it “furnishes a
                                                                       4 ‘guarantee of genuineness’ to the fact-finder, thus limiting the prospects for a flood

                                                                       5 of fraudulent claims.” Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403,

                                                                       6 407 (S.D. Fla. 1995); see also Tassinari, 480 F. Supp. 2d at 1325 (S.D. Fla. 2007)

                                                                       7 (citing “the beneficial public policy of placing an objective and easily applied

                                                                       8 restriction on frivolous claims”).

                                                                       9         Under this rule, minor physical consequences are not sufficient. See, e.g.,
                                                                      10 Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995)
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                                                                      11 (plaintiffs could not recover even though they were in the zone of danger because
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                                                                      12 they “complain[ed] only of fear and/or seasickness which in most cases lasted no
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                                                                      13 more than a few days”); Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir.
                                   ENCINITAS, CA 92024




                                                                      14 1992) (barring recovery for emotional distress where the plaintiff suffered “trivial”

                                                                      15 injuries, including upset stomach, headache, and pulled muscles); Ellenwood v.

                                                                      16 Exxon Shipping, 795 F. Supp. 31, 35 (D. Me. 1992) (loss of sleep and loss of

                                                                      17 appetite insufficient).

                                                                      18         Plaintiffs’ Complaint contains no allegation of any physical manifestations of
                                                                      19 their emotional distress, let alone the serious and significant physical manifestation

                                                                      20 which is required. As explained, such allegations are a prerequisite to stating a claim

                                                                      21 for emotional distress, even when the plaintiff meets the zone of danger test (which

                                                                      22 Plaintiffs here have not). Plaintiffs’ allegations that they “are suffering from

                                                                      23 emotional distress” and are “traumatized” from fear are exactly the sorts of

                                                                      24 generalized allegations of fear and anxiety that courts have held are clearly

                                                                      25 insufficient to support a claim for emotional distress. Supra; see, e.g., Williams v.

                                                                      26 Carnival Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995). Thus, even if
                                                                      27 Plaintiffs had adequately pled both that they contracted COVID-19 as a result of

                                                                      28 Defendant’s conduct and had pled facts sufficient to establish they were actually

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
                                                      Case 2:20-cv-02458-RGK-SK Document 36-1 Filed 06/15/20 Page 20 of 23 Page ID #:142



                                                                       1 within the zone of danger to contract the virus, their claims would nonetheless fail

                                                                       2 for the separate reason that they have not adequately pled a physical manifestation

                                                                       3 of their emotional distress.

                                                                       4      D. Plaintiffs’ Claims for Punitive Damages are Foreclosed as a Matter of
                                                                       5         Law and Should be Dismissed or Stricken

                                                                       6         Finally, even if Plaintiffs’ claims could go forward on the merits, Plaintiffs’
                                                                       7 claims for punitive damages are foreclosed as a matter of law and should therefore

                                                                       8 be dismissed under Rule 12(b)(6) or stricken under Rule 12(f).

                                                                       9         The Supreme Court has recently clarified several important limitations on the
                                                                      10 availability of punitive damages in maritime cases, all of which make clear that
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                                                                      11 punitive damages are unavailable in cases alleging only emotional distress—at least
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                                                                      12 where that distress is not intentionally inflicted. In The Dutra Group v. Batterton,
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                                                                      13 139 S. Ct. 2275 (2019), the Supreme Court set forth a framework for deciding when
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                                                                      14 punitive damages are available under general maritime law, and then applied that

                                                                      15 framework to hold that punitive damages are unavailable in claims for

                                                                      16 unseaworthiness. First, where there is no federal statute authorizing punitive

                                                                      17 damages, courts must determine “whether punitive damages have traditionally been

                                                                      18 awarded” in the category of case at issue. Id. at 2283. If they are not, then the

                                                                      19 imposition of punitive damages is precluded. See Dunn v. Hatch, 792 F. App’x 449,

                                                                      20 451 (9th Cir. 2019) (Batterton “held that punitive damages cannot be recovered on

                                                                      21 claims in admiralty where there is no historical basis for allowing such damages”).

                                                                      22 If the imposition of punitive damages would create “bizarre disparities in the law,”

                                                                      23 that further counsels against their availability. Batterton, 139 S. Ct. at 2287. And in

                                                                      24 determining whether to permit punitive damages, courts must proceed “cautiously in

                                                                      25 light of Congress’s persistent pursuit of uniformity in the exercise of admiralty

                                                                      26 jurisdiction.” Id. at 2278 (Miles v. Apex Marine Corp., 498 U.S. 19, 27 (1986)).
                                                                      27         Under this framework, Plaintiffs cannot recover punitive damages. While the
                                                                      28 Ninth Circuit has occasionally upheld the imposition of punitive damages for certain

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-02458-RGK-SK
                                                      Case 2:20-cv-02458-RGK-SK Document 36-1 Filed 06/15/20 Page 21 of 23 Page ID #:143



                                                                       1 claims under general maritime law, see Churchill v. F/V Fjord, 892 F.2d 763, 772

                                                                       2 (9th Cir. 1998), Defendant is aware of no binding precedent supporting the

                                                                       3 imposition of punitive damages for negligently (even grossly negligently) inflicted

                                                                       4 emotional distress. To the contrary, any “tradition” of punitive damages in maritime

                                                                       5 cases is limited to cases where the defendant’s conduct is truly “outrageous”—cases

                                                                       6 of “enormity or deplorable behavior.” Dunn, 792 F. App’x at 452. And some courts

                                                                       7 have held expressly that punitive damages are unavailable to “personal injury

                                                                       8 claimants … except in exceptional circumstances such as willful failure to furnish

                                                                       9 maintenance and cure to a seaman (who are viewed as special wards of the court

                                                                      10 requiring additional protection), intentional denial of a vessel owner to furnish a
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                                                                      11 seaworthy vessel to a seaman, and in those very rare situations of intentional
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                                                                      12 wrongdoing.” In re Amtrak Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept.
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 22, 1993, 121 F.3d 1421, 1429 (11th Cir. 1997). As in Batterton, the absence of case
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                                                                      14 law supporting the availability of punitive damages in suits for negligently inflicted

                                                                      15 emotional distress “is practically dispositive.” Id. at 2284.

                                                                      16         But even if the history of punitive damages under maritime law were more
                                                                      17 equivocal (which it is not), the imposition of punitive damages here would create the

                                                                      18 same “bizarre disparit[y] in the law” that demanded foreclosure of punitive damages

                                                                      19 in Batterton. The Court there noted that, if punitives were permitted for

                                                                      20 unseaworthiness claims, “a mariner could make a claim for punitive damages if he

                                                                      21 was injured onboard a ship, but,” because of the Court’s prior decision in Miles, “his

                                                                      22 estate would lose the right to seek punitive damages if he died from his injuries.”

                                                                      23 139 S. Ct. at 2287 (emphasis added). The same disjoint would occur here, as the

                                                                      24 Death on the High Seas Act (DOHSA) expressly forbids the imposition of punitive

                                                                      25 damages for deaths caused by incidents more than three miles offshore. See 46

                                                                      26 U.S.C. § 30303 (allowing damages only for “pecuniary loss”); Batterton, 139 S. Ct.
                                                                      27 at 2285 n.8.     Under Plaintiffs’ novel theory, passengers alleging exposure to a
                                                                      28 disease on the high seas can freely recover punitive damages if they never

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                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-02458-RGK-SK
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                                                                       1 contracted the disease, and yet, if those same passengers died from the disease,

                                                                       2 DOHSA would squarely bar their claim for punitive damages. To avoid that

                                                                       3 arbitrary differential treatment, and to properly “pursue the policy expressed in

                                                                       4 congressional enactments” like DOHSA, punitive damages must be foreclosed. Id.

                                                                       5 at 2281.

                                                                       6           The policies that drive strict application of the zone of danger test in
                                                                       7 emotional-distress cases, see supra section III.B, further cement that punitive

                                                                       8 damages cannot be available in cases involving emotional distress based on alleged

                                                                       9 disease exposure. To the extent that liability alone did not create the “infinite and

                                                                      10 unpredictable liability,” Ayers, 538 U.S. at 146, the “stark unpredictability of
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                                                                      11 punitive awards,” Exxon Shipping Co. v. Baker, 554 U.S. 471, 499 (2008), would
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                                                                      12 make that threat an unavoidable reality. The mere allegation that plaintiff might be
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                                                                      13 entitled to recover punitive damages will only further the flood of litigation that the
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                                                                      14 Supreme Court has so clearly warned against in fear of disease cases. The open-

                                                                      15 ended threat of punitive damages would encourage more frivolous fear of disease

                                                                      16 cases and hobble “maritime commerce”—the “fundamental interest served by

                                                                      17 federal maritime jurisdiction.” Batterton, 139 S. Ct. at 2287.6

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                                                                               Even if punitive damages were available, the Supreme Court has held that “under
                                                                      26 maritime law, the maximum ratio of punitive damages to compensatory damages is
                                                                      27 1-1.” Exxon Valdez v. Exxon Mobil, 568 F.3d 1077, 1079 (9th Cir. 2009). If this
                                                                           Court does not dismiss or strike the request for punitive damages altogether, the
                                                                      28 Court should limit Plaintiffs’ damages accordingly.

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                                                                       1 V.      CONCLUSION
                                                                       2         For the foregoing reasons, Defendant requests that the Court grant its motion
                                                                       3 to dismiss and to dismiss this case with prejudice.

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                                                                           DATED: June 15, 2020                  MALTZMAN & PARTNERS
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